                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 ZURICH AMERICAN INSURANCE
 COMPANY,

                                Plaintiff,                1:18-CV-932
             v.

 COVIL CORPORATION, et al.,

                             Defendants.


 ORDER GRANTING JOINT MOTION TO DISMISS WITHOUT PREJUDICE

      Before the Court is the March 13, 2020 Joint Motion to Dismiss Without Prejudice

submitted by Covil Corporation and Hartford Accident and Indemnity Company. Upon

consideration thereof and for good cause shown,

      IT IS HEREBY ORDERED that the Parties’ Joint Motion to Dismiss Without

Prejudice is GRANTED, and all claims between Covil and Hartford in this action are

dismissed without prejudice. Hartford’s Third-Party Claims against Penn National are

also hereby dismissed without prejudice.

      This the 16th day of March, 2020.



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                                           UNITED STATES DISTRICT JUDGE




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